           Case 5:19-cv-00769-G Document 40 Filed 10/30/19 Page 1 of 1



                    UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

BNSF RAILWAY COMPANY,                         )
A Delaware Corporation,                       )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )   Case No. CIV-19-769-G
                                              )
CITY OF EDMOND, OKLAHOMA,                     )
et al.,                                       )
                                              )
       Defendants.                            )

                       ORDER OF PRELIMINARY INJUNCTION

       For the reasons set forth in the Court’s Order granting Plaintiff’s Motion for

Preliminary Injunction issued this date, the Court orders as follows:

       Defendants herein, their officers, agents, servants, employees, and attorneys, and

persons acting in concert with those individuals, are hereby enjoined from enforcing title

66, section 190 of the Oklahoma Statutes until such time as a final decision is issued on the

merits of this case.

       IT IS SO ORDERED this 30th day of October, 2019.
